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                                                 U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    50 Main Street, Suite 1100
                                                    White Plains, New York 10606



                                                    May 16, 2025

BY ECF

Honorable Nelson S. Román
United States District Judge
Southern District of New York
The Hon. Charles L. Brieant Jr. Federal Building and United States Courthouse
300 Quarropas St.
White Plains, NY 10601

       Re:     United States v. John Lord, 25 Cr. 149 (NSR)

Dear Judge Román:

       On April 4, 2025, the defendant in the above-captioned case entered a change of plea before
the Hon. Andrew E. Krause, U.S.M.J. Sentencing was scheduled before Your Honor for July 10,
2025. The Government respectfully requests, with consent from the defense, that the sentencing
be adjourned to August 1, 2025, at 3:00 p.m., which we understand from Your Honor’s deputy is
available to the Court.

                                             Respectfully submitted,

                                             JAY CLAYTON
                                             United States Attorney for the
                                             Southern District of New York


                                         by: __________________________
                                             Shaun E. Werbelow
                                             Assistant United States Attorney
                                             (914) 993-1962


cc:    Rachel Martin, Defense counsel (via ECF)
